       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 1 of 31. PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                  CIVIL DIVISION

CLEVELAND COMMUNICATIONS,
    INC.
                                                    Case No. 1:23-cv-1561
               Plaintiff,

v.
                                                    Judge ______________________________
LORAIN COUNTY BOARD OF
    COMMISSIONERS,
                                                    (JURY DEMAND ENDORSE HEREON)
       and

DAVID J. MOORE, an individual,

       and

JEFFREY ARMBRUSTER, an individual,

       and

JEFFREY RIDDELL, an individual,

               Defendants.

          COMPLAINT FOR EQUITABLE RELIEF AND MONEY DAMAGES

       Plaintiff CLEVELAND COMMUNICATIONS, INC. (“CCI”), by and through its

undersigned counsel, brings this Complaint against Defendants LORAIN COUNTY BOARD OF

COMMISSIONERS (the “Board”), DAVID J. MOORE (“Moore”), JEFFREY ARMBRUSTER

(“Armbruster” and together with Moore and named and unnamed co-conspirators, the “Co-

Conspirators”), and JEFFREY RIDDELL (“Riddell” and together with Moore, the “Board

Majority”) (collectively, the “Defendants”) and alleges as follows:
       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 2 of 31. PageID #: 2




                                        INTRODUCTION

       1.      This action arises from a course of unlawful and corrupt conduct involving a

contract to upgrade a countywide emergency radio communications system for Lorain County to

be paid for by millions of dollars in federal grant money. Despite the overwhelming support of

police and fire emergency responders for CCI to upgrade the radio system with L3 Harris Radio

products, the Co-Conspirators and their confederates schemed to steer the contract to Motorola

Solutions (“Motorola”) for reasons other than the public good. Their corrupt methods included

trying to extort a second county commissioner into voting for Motorola and against CCI, and

making false allegations to initiate criminal investigations against the commissioner and CCI

which they leaked to the media and in public meetings. But notwithstanding a pattern of corrupt

activity intended to intimidate, injure, and deceive, the Lorain County Board of Commissioners

acted in the public interest and awarded by a 2-0 vote the contract to CCI and appropriated the

federal funds for the contract. Defendant Moore, the third County Commissioner, who was

willing to cross the line into unlawful activity to control the awarding of the contract, did not

attend the vote.

       2.      But Moore, Armbruster, and their confederates, known and unknown, had not

given up. With false representations of an improper relationship between CCI and at least one

County Commissioner, Defendant Moore swayed the new Commissioner, Jeff Riddell, to

support a resolution to rescind the valid and executed contract. On January 9, 2023, Moore and

Riddell, just days into his first term, voted as a 2-1 Majority to revoke the valid contract and to

withdraw its federal funding. They did so at a meeting where they faced outrage from the first

responders of Lorain County, and denied CCI basic due process and equal protection rights in




                                                  2
        Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 3 of 31. PageID #: 3




taking away CCI’s contract, a clearly established property right. They now undertake a second

selection process where it is predetermined that the contract will be awarded to Motorola.

        3.        The question that will be answered in this action is why Defendants would engage

in such shocking and corrupt conduct, including extortion, fraud, and obstruction of justice, to

subvert the public interest and the safety of the first responders whose lives depend on the radios

at issue.

                                              PARTIES

                              Plaintiff Cleveland Communications, Inc.

        4.        CCI is an Ohio corporation with its main business address at 5220 Hauserman

Road, Parma, Ohio 44130. CCI has been qualified to conduct business in the State of Ohio at all

relevant times.

        5.        CCI, among other things, is a full service two-way radio seller and service

organization, specializing in designing, installing, and servicing communications systems,

including those used by public safety organizations. Prior to being awarded the Agreement to

Provide Goods and Services to Lorain County, Ohio on December 21, 2022 (the “Contract”)—

the contract at issue in this action—CCI began serving the emergency communications needs of

ten or more local governments in Lorain County (the “County”).

        6.        Defendants have engaged in a pattern of corrupt activity proximately causing

injury to CCI in its business and property.

        7.        CCI has standing to bring federal claims under the federal RICO statute pursuant

to 18 U.S.C. §§ 1961, 1962, and 1964 because the Co-Conspirators have by a pattern of

racketeering activity injured CCI in its business and property; and under 42 U.S.C. § 1983

because the Board Majority deprived CCI of substantive and procedural due process rights and




                                                   3
       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 4 of 31. PageID #: 4




equal protection under the Fourteenth Amendment when the Board Majority rescinded the

Contract and engaged in additional conduct with an intent to injure CCI.

                      Defendant Lorain County Board of Commissioners

       8.      The Lorain County Board of Commissioners is the statutorily authorized board

for Lorain County, Ohio, conducting public business at 226 Middle Avenue, Fourth Floor,

Elyria, Ohio 44035.

       9.      Pursuant to its statutory authority under O.R.C. 305.01, et seq., the Board

conducts business on behalf of Lorain County, including but not limited to reviewing and

approving contracts for the Lorain County Public Safety Radio System Program. The Board

acting with full statutory authority awarded the Contract to CCI on December 21, 2022, executed

and delivered the Contract to CCI and then rescinded the Contract with CCI on January 9, 2023,

without any right to do so.

                                   Defendant David J. Moore

       10.     David J. Moore is an individual residing at 173 Terra Lane, Amherst, Ohio 44001.

       11.     Moore was a Commissioner on the Lorain County Board of Commissioners

between 2001 and 2005, and has currently served in that capacity since 2021. Moore has

engaged in a series of unlawful acts, including racketeering activity and federal constitutional

violations, with the goal of controlling Lorain County government and the awarding of contracts

and other benefits. In particular, Moore extorted fellow Commissioner Hung and along with his

confederates exposed her embarrassing personal details when she would not submit to the Co-

Conspirators’ plan to deny the contract to CCI. Moore is a member of the enterprise described

herein and the conspiracy to engage in a pattern of racketeering activity. He is also a member of

the Board Majority that deprived CCI of procedural Due Process and Equal Protection rights.




                                                 4
       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 5 of 31. PageID #: 5




                                  Defendant Jeffrey Armbruster

       12.     Jeffrey Armbruster is an individual residing at 33030 Woodhaven Circle, North

Ridgeville, Ohio 44039.

       13.     Armbruster is today the Lorain County Administrator, the chief executive official

of Lorain County, and the former safety director of North Ridgeville. Armbruster extorted

Commissioner Hung and then Lorain County 911 Director Harry Williamson in a venal effort to

steer the contract to Motorola. Armbruster is a participant in the enterprise described herein and

the conspiracy to engage in a pattern of racketeering activity.

                                    Defendant Jeffrey Riddell

       14.     Jeffrey Riddell is an individual residing at 9611 Dean Rd., Vermillion, Ohio

44089. Riddell undertook all actions described herein within Lorain County.

       15.     Riddell joined the Board in January 2023, just days before voting in favor of

rescinding the Contract. Riddell claims to have run for election on a platform of targeting CCI’s

contractual relationship with the County. Riddell is a member of the Board Majority that

deprived CCI of procedural due process and equal protection in rescinding without justification

the binding contract.

                                JURISDICTION AND VENUE

       16.     This Court has subject-matter jurisdiction over the federal claims in this action

pursuant to 28 U.S.C. § 1331 because they arise under the laws of the United States, and

supplemental jurisdiction over the state law claim pursuant to 28 U.S.C. § 1367.

       17.     The Court has personal jurisdiction over Defendants because they conduct

business in Ohio, purposefully direct or directed their actions toward this District, and have the




                                                 5
        Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 6 of 31. PageID #: 6




requisite minimum contacts with the District necessary to constitutionally permit the Court to

exercise jurisdiction.

        18.    The Court has personal jurisdiction over Moore, Armbruster, Williams, and

Riddell under 18 U.S.C. § 1965(a) and all of the Co-Conspirators under 18 U.S.C. § 1965(b).

        19.    The Court has personal jurisdiction over the Board because it contractually

consented to the jurisdiction of this Court.

        20.    Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)(2) because

the Defendant Lorain County Board of Commissioners maintains an office and has its principal

place of business within this District. Moore, Armbruster, Williams, and Riddell are all residents

of this District. Moreover, the venue is proper in this District under 18 U.S.C. § 1965(a) because

a substantial part of the unlawful acts asserted herein were planned and/or executed within this

District. The significant witness, documents, and other evidence are also located within this

District.

                             FACTS COMMON TO ALL CLAIMS

        21.    In or about 2017, the Board determined that it was necessary to commission a

survey in Lorain County to study and provide recommendations to the Board for systems to

improve County-wide emergency and first responder communications.

        22.    To conduct that study, the Board then made up of former Commissioners Ted

Kalo, Matt Lundy, and Lori Kokosi, passed a unanimous resolution on May 9, 2018, to enter into

an agreement with Mission Critical Partners, LLC (“MCP”), the leading independent provider of

cybersecurity services for public safety agencies at the federal, state, and local levels.

        23.    In or about February 2019, MCP issued a report of approximately 275 pages,

finding that the current radio system was not a public-safety grade system and recommending




                                                  6
       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 7 of 31. PageID #: 7




that the County modernize its radio system with a phase II trunk simulcast system that had

interoperability with the state-operated system, the Multi-Agency Radio Communications

System, better known as MARCS.

       24.     In early 2021, the Board began to investigate how the County could fund such a

system, and eventually determined that the Board could use an American Rescue Plan Act

(“ARPA) grant to fund the project. The Board began to solicit proposals informally.

       25.     By this time, Defendants Moore and Armbruster, and their confederates were

already in communication with Motorola about fulfilling the contract.

       26.     But CCI also expressed its interest in building and supporting the countywide

system with L3 Harris products. Defendants Moore and Armbruster received an email from CCI

confirming its interest in winning the contract.

       27.     In or about June of 2021 a police officer named Dana Gollner reached out to CCI.

At a meeting in the Northern District of Ohio on or about June 10, 2021, Gollner told CCI that he

could gain the support of all three County Commissioners if CCI paid Gollner a “lobbying” fee

of 10% of the multi-million dollar contract. At this meeting, Gollner also showed a confidential

email from Motorola to the Lorain County Commissioners and one from CCI to the Lorain

County Commissioners and others to demonstrate his real access to Moore and other decision

makers in Lorain County. When CCI advised Gollner that the upcoming contract would not

support a fee of this amount, Gollner told CCI to simply submit a bid for a higher amount

because there were a number of people to get paid and the higher bid would be accepted.

       28.     CCI declined to agree to pay the money to Gollner, but continued to pursue the

contract. CCI had already begun upgrading radio systems for municipalities in the Northeast




                                                   7
       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 8 of 31. PageID #: 8




corner of Lorain County. As first responders increasingly expressed their support for CCI and its

L3 Harris product, Moore and Armbruster became concerned.

       29.     Moore, Armbruster, and also their co-conspirator Tom Williams sought to control

Commissioner Michelle Hung and thereby her valuable second vote so as to insure that the

contract went to Motorola and not to CCI. When Commissioner Hung demonstrated her

independence, they increased the level of coercion and intimidation.

       30.     Acting in concert with defendants Moore and Armbruster, co-conspirator

Williams pressured County 911 Director Harry Williamson to influence Hung not to support

CCI. Williams knew at the time that Williamson and Hung were involved in an extra-marital

affair. When in or about June 14 of 2021, Hung still voiced support for choosing the radio

vendor supported by the County’s fire departments, Moore told Williamson that Hung had “gone

crazy.” .

       31.     By late July or early August of 2021, Moore with Armbruster on the phone

threatened Hung with the exposure of her extra-marital affair with Harry Williamson if she did

not withdraw her support for CCI (L3 Harris) and support the MARCS System (Motorola).

       32.     When Williamson later called Armbruster to discuss the situation, Armbruster

reinforced that Michelle Hung had a difficult political decision to make regarding the awarding

of the radio contract.

       33.     When Hung did not submit to the threat, one or more Defendants participated in

exposing the alleged extra-marital affair involving Hung and Williamson in August of 2021.

They also terminated Williamson’s employment as 911 Director for Lorain County and called

for Hung’s resignation.




                                                8
         Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 9 of 31. PageID #: 9




         34.   On May 4, 2022, the Board ordered a preliminary specification for such a system,

and MCP advised the Board regarding the same. At that time, the Board consisted of

Commissioners Michelle Hung, Matt Lundy, and Defendant Moore.

         35.   At the August 3, 2022 meeting of the Board, by a vote of 2-0. Moore was absent

from the meeting. As a result of that vote, the Board instructed the Clerk to publish a Request

for Proposals for a radio communications system to support mission-critical public safety

communications within Lorain County. Notice of the Request for Proposals was published on

August 5 and 12, 2022.

         36.   On August 4, 2022, Lorain County issued the Request for Proposals and

Technical Specifications for Project 25 Public Safety Radio Network (the “Radio Network

RFP”).

         37.   The Radio Network RFP was issued “for the procurement of access to an

Association of Public-Safety Communications Officials (APCO) International Project 25 (P25)

Phase 2 radio communications system to support mission-critical public safety communications

within Lorain County (county, geographically).”

         38.   Lorain County explained that it was “requesting proposals for the buildout of

radio infrastructure to serve Lorain County first responders.”

         39.   As part of the winning proposal, “[t]he requested system shall be owned and

operated by the proposing vendor or another partner agency, with Lorain County paying ongoing

user fees for access to the system.”

         40.   The Radio Network RFP included 69 pages of specifications, terms, and

conditions, including a reservation of “the right to terminate on lack of services, non-

performance, or cost model changing.”




                                                 9
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 10 of 31. PageID #: 10




       41.    MCP continued to advise the Board throughout the RFP process.

       42.    The Radio Network RFP did not include any minimum number of proposals that

would be required to constitute a valid RFP process.

       43.    The Radio Network RFP did include a Proposal Process Schedule of Events,

setting forth the timeline upon which the Board intended to proceed:




       44.    On August 15, 2022, the Board held a pre-bid vendor conference, during which

MCP set forth the Board’s expectations for proposals.

       45.    The following vendors were present at the August 15, 2022 pre-bid vendor

conference: CCI, Motorola Solutions, and Vasu Communications.

       46.    The Board validly exercised its discretion to adjust the schedule of events, when

in response to the separate requests of Motorola and CCI, the Board extended the proposal

deadline by 14 days to October 14, 2022.




                                               10
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 11 of 31. PageID #: 11




       47.     Ahead of the extended deadline, the Board received a full response proposal from

CCI, a letter of no bid from Motorola Solutions, and a partial-work bid from Vasu

Communications.

       48.     The Board established a five-member committee to rank and evaluate the

proposals received (the “Evaluation Committee”), and the Evaluation Committee in consultation

with MCP identified CCI’s proposal as the one that was most advantageous to the County.

       49.     The bid process and the Evaluation Committee followed all procedures required

under Ohio law to constitute a valid and lawful request for proposal sealed bid under R.C. §

307.86, et seq., and upon information and belief, the process was approved and validated by the

Lorain County Prosecutor’s Office following a careful review.

       50.     On December 21, 2022, consistent with the findings of the Evaluation Committee,

the Board determined that only CCI’s proposal was compliant with the Radio Network RFP and

that CCI had a proven track record in the County and surrounding counties.

       51.     Moore was again absent from the December 21, 2022 meeting of the Board.

       52.     During the December 21, 2022 meeting, the Board heard public comments from

County first responders in unanimous support of the Contract and the L3 Harris radio system that

CCI would provide to the County.

       53.     On December 21, 2022, the Commissioners present—current Commissioner

Michelle Hung and then-Commissioner Lundy—voted 2-0 to approve the Contract with CCI.

       54.     The source of funding for the Contract, as stated in the Contract itself and the

resolutions approving the Contract and its funding, was ARPA funds.

       55.     CCI and the Board executed the Contract, which had been previously approved as

valid by the Assistant Prosecutor for Lorain County on December 19, 2022. Commissioner




                                                11
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 12 of 31. PageID #: 12




Lundy, President of the Board, signed the Contract on behalf of the Board and Alan Close,

President of CCI, signed on behalf of CCI. A true and correct copy of the Contract is attached

hereto as EXHIBIT A.

          56.   But Moore and Armbruster planned to undo the contract. In or about November

and December of 2022, Moore made false representations via wire communications to candidate

and then elected official Defendant Riddell. Moore falsely stated that Hung and CCI had an

improper relationship causing Hung to steer business to CCI. Defendant Riddell relied on these

false statements in announcing that he would right the injustice of the radio contract.

          57.   Moore and his confederates further caused CCI to be investigated and defamatory

stories to be published about CCI and Hung. Moore then cited the investigations he started as

proof of his false allegations .

          58.   But in reliance upon the contract’s approval and execution, CCI worked to

implement the Contract.

          59.   As a part of the Contract, CCI had 60 days to reach a Radio System User

Agreement with the non-County political subdivisions within Lorain County for the provision of

radios.

          60.   On December 27, 2022, CCI and the Rochester Fire Department signed a Radio

System User Agreement (the “Rochester User Agreement”) that is only implementable if the

network contemplated by the Contract comes into existence. A true and correct copy of the

Rochester User Agreement is attached hereto as EXHIBIT B.

          61.   On January 4, 2023, CCI and the City of Oberlin signed a Radio System User

Agreement (the “Oberlin User Agreement”) that is only implementable if the network




                                                12
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 13 of 31. PageID #: 13




contemplated by the Contract comes into existence. A true and correct copy of the Oberlin User

Agreement is attached hereto as EXHIBIT C .

       62.     The Contract itself includes the following termination provision:




       63.     Former Commissioner Lundy ended his term, and the newly-elected

Commissioner defendant Jeff Riddell replaced him at the beginning of January 2023.

       64.     On January 6, 2023, the Board issued an agenda for an Organizational Meeting,

which is a special session of the Board to be held the following business day, January 9, 2023 at

9 am (the “Agenda”). The Agenda included item Number 21, a resolution under 911 to

“[r]escind Res#22-909, adopted December 21, 2022 entering into an agreement with Cleveland

Communications, Inc. to provide goods and services for a public safety radio system on behalf of

Lorain County 911and will be paid from the ARP Capital Equipment account.”

       65.     The Agenda also included item Number 22, a resolution under 911 to “[r]escind

Res#22-910, adopted December 21, 2022 establishing a set aside of $4,033,542.97 subgrant for

participating political subdivisions for the Lorain County public radio system to be paid from

Acct# ARP other expenses.”

       66.     The Agenda gave no notice of the purported reasons for the vote to rescind the

Contract and funding. Nor did any other communication give CCI or other interested parties

sufficient notice of the meeting or advanced notice of the issues that they would need to address.




                                                13
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 14 of 31. PageID #: 14




       67.     Prior to the January 9, 2023 Organizational Meeting, the public and CCI were

only made aware that the Board may terminate the Contract based on the item being listed on the

meeting Agenda on a Friday afternoon, one business day before the Meeting scheduled for

Monday. A true and correct copy of the January 9, 2023 meeting agenda is attached hereto as

EXHIBIT D.

       68.     Defendant further breached the notice provision in the Contract, which provides

as follows:




       69.     Prior to the January 9, 2023 Organizational Meeting, the Board issued no notices

of its intent to terminate the Contract directly to CCI; did not state to CCI prior to the meeting

any grounds that could justify termination; and did not provide CCI with an opportunity to cure

any issues that might justify the Board’s termination of the Contract.

       70.     Prior to the January 9, 2023 Organizational Meeting, CCI learned of the agenda

items and delivered a letter via email to the Board objecting to rescinding the Contract. CCI did

not have notice of what the grounds would be to rescind the Contract.

       71.     Commissioner Moore, Commissioner Riddell, and Commissioner Hung were all

in attendance at the January 9, 2023 Organizational Meeting.

       72.     At the January 9, 2023 Organizational Meeting, the Board heard public comments

from a packed audience on the resolutions to rescind the Contract and related funding.

       73.     Comments at the meeting were limited to three minutes.



                                                 14
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 15 of 31. PageID #: 15




       74.      Public comments were almost unanimously against rescinding the Contract and

included:

             a. The Honorable Frank Whitfield, Mayor of Elyria: “I truly believe if cancer – the

                cure for cancer would have got approved by Hung and Lundy, you would be

                against it.”

             b. Lucy DiNardo, Senior Staff Representative, Fraternal Order of Police: “The union

                will pursue a health and safety grievance if you do rescind this order and if you

                decide to go in the direction that you’re going.”

             c. Elyria Fire Chief Joseph Pronesti: “Well, we’re not playing a violin with the

                public. You know the right instrument you ought to talk about? The bagpipes.

                Because that’s what we play when we bury somebody.”

       75.      Only one public comment was made in support of rescinding the Contract based

on the unsupported speculation that the Board could get a lower price if the project was re-

submitted for bid.

       76.      At the January 9, 2023 Organizational Meeting, CCI was given no opportunity to

present actual evidence or the testimony of witnesses.

       77.      At the January 9, 2023 Organizational Meeting, CCI’s attorney was allowed to

speak only during the open public comments portion of the meeting. Like all members of public,

CCI’s attorney’s comments were limited to three minutes.

       78.      The Board issued no notices to CCI of its intent to terminate the Contract.

       79.      The Board did not state to CCI prior to the January 9, 2023 meeting of the Board

any grounds that could justify termination of the Contract.

       80.      The January 9, 2023 meeting of the Board did not include testimony of witnesses.




                                                 15
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 16 of 31. PageID #: 16




        81.      At the January 9, 2023 meeting of the Board, the Commissioners made no

findings of fact.

        82.      The Board did not provide CCI with an opportunity to cure any alleged issues that

the Board identified as reasons for its termination of the Contract.

        83.      Following public discussion, the Commissioners made statements concerning

their positions, and no Commissioner made any comments or findings of fact concerning any

breach of the Contract by CCI or any deficiency that needed cured. To the contrary, Moore and

Riddell purported to find – without any evidentiary or lawful basis – that the bidding process was

flawed because in the end CCI presented the only sufficient bid:

              a. Riddell supported rescinding the Contract because he objected to the bid process

                 finding, “Two of the [potentially bidding] vendors needed extra time [to submit

                 their bid]” and that instead the requested “additional time was denied and 15 days

                 was allowed.”

              b. Moore supported rescinding the Contract, so the Board could “reset” and allow

                 additional buy in among communities that needed to sign the contemplated user

                 agreements. Moore also pointed to objections he made prior to the issuance of the

                 Radio Network RFP.

              c. Commissioner Hung opposed rescinding the Contract on the basis that the

                 statutory RFP process was lawful and recited the long history of the Board’s

                 evaluation of the necessity of a new radio network. She also offered evidence

                 supporting the Board’s prior determination that the CCI proposal was most

                 advantageous to the County.




                                                 16
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 17 of 31. PageID #: 17




       84.      Moore and Riddell voted to rescind the resolution to enter into the Contract

whereas Commissioner Hung voted against.

       85.      Moore acted with ill-will and prejudice, in part, on the basis that in his words,

CCI is an “out-of-town company,” and Moore publicly and falsely stated that CCI had engaged

in an illicit campaign to steer the Board’s radio network to itself. Moore made his false

statements knowing of their falsity, and all the while he participated in an illegal enterprise to

block CCI’s contractual relationship with others in the County and deliver the radio network to

Motorola Solutions.

       86.      At the time of the vote, Riddell had only served on the Board for a matter of days.

Riddell acted in reliance on the fraudulent representations and statements made privately and in

public by the Co-Conspirators causing economic harm to CCI and subverting the public interest

in an improved system.

       87.      The Board also voted 2-1 along the same lines to rescind the federal funding of

the Contract.

       88.      The Lorain County Deputies Association filed a union grievance stating in part

that Riddell and Moore voted to rescind the Contract knowing “that the current radio systems are

not working properly and that the Sheriff cannot find replacement parts for the current system in

the event of a failure. This causes a significant safety issue.”

       89.      On January 18, 2023, the Fox 8 I-Team reported on a failure of the Lorain County

radio system during an emergency involving a man who could not breathe. The Media reported

learning that “what happened in this case is not that unusual.” Confronted with a recording of

the emergency responders unable to communicate over radio, Commissioner Riddell was quoted




                                                 17
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 18 of 31. PageID #: 18




as saying in part that “nobody’s denying the equipment in Lorain County is not in need of

upgrading.”

       90.     By rescinding the Contract without any right to do so and without affording CCI

due process, the Board’s decision was unconstitutional, illegal, arbitrary, capricious,

unreasonable, and unsupported by the preponderance of substantial, reliable, and probative

evidence.

       91.     CCI administratively appealed the Board’s decision to Lorain County Common

Pleas, pursuant to Ohio law. The Court determined that the Board’s decision to rescind the

contract was not the result of a quasi-judicial proceeding, and as a result determined that the

Board’s decision was not the type subject to an administrative appeal under O.R.C. §2506. The

Board’s decision to rescind the Contract resulted in CCI’s loss of its Contract rights without Due

Process, and the dismissal of the appeal further demonstrates the lack of an adequate remedy in

the state court proceedings.

       92.     The Board Majority rescinded the Contract in an unconstitutional manner that the

Board Majority knew or should have known did not comply with constitutional mandates for

depriving a person of property. The Board Majority acted with ill-will and animus and directly

targeted and affected CCI with its action, failing to afford CCI substantive due process and equal

protection under the law.

       93.     In furtherance of the conspiracy, Moore and others acting in concert with him

devised a scheme to defraud and obstruct justice by instigating investigations of Commissioner

Hung’s ties to the radio project. By correspondence sent by mail, including a letter sent on

March 27, 2023, to Lt. Vansant of the Lorain County Sheriff’s Office and copied to the Ohio

Attorney General, Moore—notwithstanding his own act of extortion—falsely alleged misconduct




                                                 18
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 19 of 31. PageID #: 19




on the part of Commissioner Hung and others regarding the radio project and portrayed himself

as a whistleblower. He further portrayed Commissioner Hung as “a known liar” who “pled the

Fifth Amendment multiple times during a federal deposition just last year.”

       94.     Moreover, Moore and others obstructed an official investigation of the Lorain

County Sheriff’s Office. On March 27, 2023, Moore falsely represented that Lorain County

Sheriff had “a clear conflict of interest in regard to this matter”(the circumstances surrounding

the approval and rescinding of the Contract). In addition, one or more defendants corruptly

persuaded the Lorain County Prosecutor’s Office not to assist the investigation, corruptly

persuaded one or more Lorain County employees and others not to comply with subpoenas and

public records requests issued by the Sheriffs, and corruptly persuaded witnesses not to be

interviewed as a part of the official investigation.

                                   COUNT ONE
(Racketeer Influenced and Corrupt Organizations (RICO) Act, 18 U.S.C. §§ 1962(c), 1964)
    AGAINST DEFENDANTS DAVID J. MOORE and JEFFREY ARMBRUSTER

       95.     CCI incorporates as if fully rewritten herein all prior allegations in this

Complaint.

       96.     Plaintiff incorporates each and every allegation set forth above as if fully

rewritten herein.

       97.     Plaintiff CCI is a “person” within the meaning of 18 U.S.C. §§ 1961(3) and

1964(c).

       98.     At all times relevant hereto, in the Northern District of Ohio, there existed an

“enterprise” within the meaning of 18 U.S.C. §§ 1961(4), 1962, and 1964 consisting of the

Lorain County, Ohio Government, and its departments and subdivisions.




                                                  19
        Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 20 of 31. PageID #: 20




         99.      The enterprise is engaged in interstate commerce in that it purchases goods sold in

interstate commerce, including but not limited to L3 Harris and Motorola radio equipment at

issue in this case. The enterprise further receives federal government funds, including millions

of dollars of American Rescue Plan Funds, which upon information and belief, the federal

government paid from outside the State of Ohio in two tranches to Lorain County Government

accounts in Ohio.

         100.     The enterprise further is engaged in the supervision of Interstate I-80/90 (the Ohio

turnpike), including by Lorain County police and fire emergency responses to crashes and other

safety issues on the highway.

         101.     From in or about a date unknown but at least 2021 to the present, defendants

Moore and Armbruster together with others, known and unknown not named as defendants in

this lawsuit, including but not limited to Tom Williams, Dick Miller, and Dana Gollner, have

conspired to participate and participated directly and indirectly in the conduct of the affairs of the

enterprise through a pattern of racketeering activity, and to acquire and maintain control of

Lorain County Government through a pattern of racketeering activity. The object of the

conspiracy is to corruptly control the awarding of contracts and the expenditure of state and

federal funds for corrupt purposes to be further developed in discovery other than the public

good.

         102.     In furtherance of this conspiracy, defendants and their confederates have

participated in the enterprise, directly and indirectly, through a pattern of unlawful racketeering

activity, including the following:

               a. On or about June 10, 2021, at a meeting in the Northern District of Ohio, a police

                  officer named Dana Gollner told CCI that he could gain the support of all three




                                                   20
Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 21 of 31. PageID #: 21




       County Commissioners if CCI paid Gollner a “lobbying” fee of 10% of the multi-

       million dollar contract. At this meeting, Gollner showed confidential

       communications from Motorola and CCI to the Lorain County Commissioners to

       demonstrate his real access to Moore, Williams, and other decision makers in

       Lorain County. When CCI advised Gollner that the contract would not support a

       fee of this amount, Gollner told CCI to simply submit a bid for a higher amount

       because there were a number of people to get paid and the higher bid would be

       accepted. In so soliciting this bribe, Gollner acted at the direction of Moore and

       other members of the conspiracy to violate the RICO statutes. This solicitation of

       a bribe constitutes “racketeering activity” with the definitions of 18 U.S.C. § 1961

       because it was an act of attempted bribery in violation of O.R.C. §2921.02(A) and

       (B).

    b. Moore, Armbruster, Williams, and others working in concert with them have

       sought to control Commissioner Michelle Hung and thereby obtain control of her

       valuable second vote, through acts of intimidation, including racketeering activity

       in violation of Section 1961. In or about late July or early August of 2021, Moore

       with Armbruster on the phone threatened Hung with the exposure of her extra-

       marital affair with Harry Williamson if she did not support the MARCS System

       (Motorola) and deny support to CCI (L3 Harris).     This constituted an act of

       extortion in violation of O.R.C. §2905.11(A)(4) and (5) and punishable by more

       than a year imprisonment.




                                        21
Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 22 of 31. PageID #: 22




    c. When Williamson later called Armbruster to discuss the situation, Armbruster

       reinforced that Michelle Hung had a difficult political decision to make regarding

       the radio contract.

    d. When Hung failed to submit to the threat, one or more defendants participated in

       exposing the alleged extra-marital affair involving Hung and Williamson in

       August of 2021. They also terminated Williamson’s employment as 911 Director

       for Lorain County and called for Hung’s resignation.

    e. In furtherance of the conspiracy, Moore and others acting in concert with him

       devised a scheme to defraud and obstruct justice by instigating investigations of

       Commissioner Hung’s ties to the Radio Project. By correspondence sent by mail,

       including a letter sent by U.S. mail on March 27, 2023, to Lt. Vansant of the

       Lorain County Sheriff’s Office and copied to the Ohio Attorney General,

       Moore—notwithstanding his own act of extortion—falsely alleged misconduct on

       the part of Commissioner Hung and others regarding the radio project and

       portrayed himself as a whistleblower, all in violation of 18 U.S.C. §§ 1341. He

       further portrayed Hung as “a known liar” who “pled the Fifth Amendment

       multiple times during a federal deposition just last year.”

    f. Via wire communications in or about November and December of 2022, Moore

       made false representations to candidate and then elected official Defendant

       Jeffrey Riddell, that Hung and CCI had an improper relationship causing Hung to

       steer business to CCI, all in violation of 18 U.S.C. § 1343. These false

       representations were relied upon by Defendant Riddell, causing CCI to be




                                        22
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 23 of 31. PageID #: 23




               investigated, defamatory stories to be published, and Defendant Riddell to vote to

               rescind the Contract.

           g. In December of 2022, the Lorain County Prosecutor’s office approved the Radio

               contract between Lorain County and CCI and sent it by wire communications,

               inducing the reliance of Commissioners Hung, Lundy, and CCI that the contract

               was final and enforceable, when in fact the Lorain County Prosecutor’s Office

               knew that defendant Moore and others schemed to rescind it in January.

           h. In or about 2023, Moore and others did obstruct an official investigation

               conducted by the Lorain County Sheriff’s Office. On March 27, 2023, Moore did

               falsely represent that Lorain County Sheriff had “a clear conflict of interest in

               regard to this matter,” i.e. the circumstances surrounding the approval and

               rescinding of the Contract. In addition, one or more defendants did corruptly

               persuade the Lorain County Prosecutor’s Office not to assist the investigation, did

               corruptly persuade one or more Lorain County employees and others not to

               comply with subpoenas and public records requests issued by the Sheriffs, and did

               corruptly persuade witnesses not to be interviewed as a part of the official

               investigation, all in violation of 18 U.S.C. § 1512.

       103.    This unlawful conduct comprises a pattern of racketeering involving more than

two predicate acts of racketeering activity, occurring with continuity after the effective date of

the Racketeer Influenced and Corrupt Organizations Act and all within a ten year period.

       104.    As a result of the racketeering activity in violation of 18 U.S.C. § 1962, CCI has

been injured in its business and property, including but not limited to, by the rescinding of the




                                                 23
       Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 24 of 31. PageID #: 24




Contract and the damage to its good will. CCI should be awarded treble damages, attorneys’

fees, and reasonable restrictions on the continuation of the racketeering activity.

                                   COUNT TWO
       (Fourteenth Amendment, Denial of Substantive Due Process, 42 U.S.C. § 1983)
      AGAINST DEFENDANTS DAVID J. MOORE and JEFFREY ARMBRUSTER,

        105.   CCI incorporates as if fully rewritten herein all prior allegations in this

Complaint.

        106.   The Fourteenth Amendment Due Process Clause protects all persons from the

deprivation of a protected property interest by arbitrary and capricious government action.

        107.   Under Ohio and Federal law, an awarded public contract is a constitutionally-

protected property interest.

        108.   The Contract was a valid, enforceable, statutorily-compliant public contract

awarded by the Board to CCI on December 21, 2022

        109.   As described above, CCI was deprived of it property interest in the Contract as a

result of the Co-Conspirators’ corruption, fraud, extortion, and bribery.

        110.   The Co-Conspirators’ actions went well-beyond the typical politics and

animosities that often animate local decision-making, and instead, shock the conscience. The

Co-Conspirators engaged in the described pattern of criminal activity to deprive CCI of its

constitutionally-protected property interest and to intentionally injure CCI and those that

supported it through criminal conduct and in ways unjustified by any legitimate governmental

interest..

        111.   The Co-Conspirators carried forward their corrupt enterprise knowingly in

violation of the law and are therefore not entitled to qualified immunity.




                                                 24
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 25 of 31. PageID #: 25




         112.   The Co-Conspirators’ actions are in violation of CCI’s right to Substantive Due

Process in the Fourteenth Amendment of the United States Constitution, the Ohio Constitution,

and 42 U.S.C. § 1983.


                              COUNT THREE
    (Fourteenth Amendment, Denial of Procedural Due Process, 42 U.S.C. § 1983)
AGAINST DEFENDANTS LORAIN COUNTY BOARD OF COMMISSIONERS, DAVID
                    J. MOORE, AND JEFFREY LIDDELL

         113.   CCI incorporates as if fully rewritten herein all prior allegations in this

Complaint.

         114.   The Fourteenth Amendment Due Process Clause protects all persons from the

deprivation of property without due process of law.

         115.   Due process requires that the procedures by which laws are applied are

fundamentally fair so that persons are not subjected to the arbitrary exercise of government

power.

         116.   Under Ohio and Federal law, an awarded public contract is a constitutionally-

protected property interest.

         117.   The Contract was a valid, enforceable, statutorily-compliant public contract

awarded by the Board to CCI on December 21, 2022

         118.   CCI’s right to a pre-deprivation hearing concerning its property interests in the

Contract was clearly established prior to the Board Majority’s action.

         119.   When property interests are concerned, Due Process requires, at a minimum,

sufficient notice, and an opportunity to be heard in an impartial hearing.

         120.   Notice must be reasonably calculated, under all the circumstances, to apprise

interested parties in advance of the pendency of the action and the grounds at issue for the action.




                                                  25
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 26 of 31. PageID #: 26




       121.    The Board Majority did not provide CCI with direct notice of the hearing, that the

Contract would be the subject of the hearing, or the basis for terminating the Contract awarded to

CCI because there was no lawful basis in the Contract for terminating it.

       122.    The notice of hearing and the opportunity to be heard must be granted at a

meaningful time sufficient to prepare for what is at issue.

       123.    The only notice provided was the identification of a proposed resolution to

rescind the Contract when the January 9, 2023 Organizational Meeting agenda was released three

(3) days before the Monday meeting and only one business day prior.

       124.    The only opportunity to be heard afforded to CCI was during open public

comments during the January 9, 2023 Organizational Meeting, and the Board Majority limited

CCI’s attorney’s comments to three (3) minutes. That hearing was not meaningful and did not

allow for the presentation of testimony or the confrontation of adverse witnesses.

       125.    The Board Majority’s decision was predetermined thus denying any meaningful

opportunity to be heard and evincing bias, recklessness, and malice.

       126.    The Board and Board Majority also did not provide any post-deprivation hearing.

       127.    CCI attempted to administratively appeal the Board’s decision rescinding the

Contract, pursuant to Ohio’s statutory administrative appeal process, to the Lorain County Court

of Common Pleas. CCI’s administrative appeal was dismissed by that court because the court

concluded that the Board Majority had failed to afford CCI a quasi-judicial hearing prior to

depriving CCI of its contract interests, and without a quasi-judicial hearing in the first instance,

no administrative appeal could be heard.

       128.    Each member of the Board Majority denied CCI its procedural Due Process and

abused the power of government by voting in favor of rescinding the Contract on January 9,




                                                 26
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 27 of 31. PageID #: 27




2023. Thereby, the Board and Board Majority deprived CCI of its property interests in the

Contract without cause, compensation, notice, or a sufficient opportunity to be heard. The Board

and Board Majority further did so without hearing actual evidence, and did not sit as an impartial

tribunal.

        129.   By rescinding the Contract in the manner described, the Board and Board

Majority extinguished CCI’s well-established property interests without affording CCI pre-

deprivation procedural rights.

        130.   State remedies for the denial of due process are inadequate and arbitrarily

enforced. CCI’s administrative appeal was dismissed in state court in a one page decision that

failed to acknowledge that the rescinding of a contract, a firmly established property right, is a

quasi-judicial function requiring due process of law.

        131.   Because the Board Majority violated CCI’s clearly established right to procedural

due process in taking the Contract, the members of the Board Majority are not entitled to

qualified immunity.

        132.   The Board and the Board Majority’s actions constitute a violation of CCI’s right

to procedural due process under the Due Process Clause in the Fourteenth Amendment of the

United States Constitution, and 42 U.S.C. § 1983.




                                                 27
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 28 of 31. PageID #: 28




                              COUNT FOUR
      (Fourteenth Amendment, Denial of Equal Protection, 42 U.S.C. § 1983)
AGAINST DEFENDANTS LORAIN COUNTY BOARD OF COMMISSIONERS, DAVID
                    J. MOORE, AND JEFFREY RIDDELL

       133.    CCI incorporates as if fully rewritten herein all prior allegations in this

Complaint.

       134.     The right to equal protection prohibits a state actor—here the Board Majority--

from treating CCI differently without proper justification. The disparate treatment maybe

unlawful if it either burdens a fundamental right, targets a suspect class, or has no rational basis.

       135.    Here the Board Majority targeted CCI and its contractual relationship with the

County, intentionally treating it differently from its competitors with whom the County also has

contractual relationships. The Board Majority’s actions were designed to strip CCI of its

property interests for the likely benefit of CCI’s competitors, and the Board Majority had no

rational basis for the difference in treatment.

       136.    Instead, as the comments from the members of the Board Majority make clear, the

Board Majority was motivated by animus and ill-will toward CCI for being an “out-of-town

company” and to spite Commissioner Michelle Hung for failing to obey, among other things.

       137.    The Board Majority’s decision was not based on an broadly applicable policy or

the like, but instead were resolutions specifically directed at depriving CCI of its property

interests and nothing else. In other words, the Board Majority intentionally singled out CCI for

discriminatory adverse treatment.

       138.    The Board Majority disparate treatment of CCI with animus and ill-will negate

any potential claim of qualified immunity by the Board Majority.

       139.    The Board and the Board Majority’s disparate treatment of CCI caused damages

to CCI and deprived it of equal protection under the law in violation of the Equal Protection



                                                  28
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 29 of 31. PageID #: 29




Clause in the Fourteenth Amendment of the United States Constitution, the Ohio Constitution,

and 42 U.S.C. § 1983.

                                 COUNT FIVE
                              (Breach of Contract)
              AGAINST LORAIN COUNTY BOARD OF COMMISSIONERS

       140.    CCI incorporates as if fully rewritten herein all prior allegations in this

Complaint.

       141.    CCI and the Board entered into the Contract reflected on EXHIBIT A, which is a

valid, binding, and enforceable contract.

       142.    In reliance upon the terms of the executed Contract, CCI immediately began

implementing the Contract as required.

       143.    CCI performed all duties and obligations required by the Contract through the

date of this Complaint.

       144.    The Board materially breached the Contract by taking one or more of the

following actions: (1) rescinding the Contract and funding without cause; (2) failing to provide

notices required by the Contract; (3) failing to give CCI the opportunity to cure any alleged

breach; (4) failing to pay CCI for all equipment purchased, services rendered, and expenses

incurred in connection with the Contract; and (5) stating that it was unilaterally rescinding the

Contract in terms that were sufficiently clear and unequivocal such as to constitute an

anticipatory repudiation of the Contract.

       145.    By reason of said breaches, CCI has sustained damages in the form of lost profits

and unrecovered costs incurred and other damages in excess of $1,000,000.00, the specific

amount to be proven at trial.




                                                 29
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 30 of 31. PageID #: 30




       WHEREFORE, Plaintiff Cleveland Communications, Inc. demands judgment as follows:

       A.      Entering Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

       B.      Awarding actual damages, treble damages, injunctive and equitable relief,

forfeiture as deemed proper by the Court, and attorneys’ fees and all costs and expenses of suit

from Co-Conspirators, jointly and severally, pursuant to Plaintiff’s racketeering claim;

       C.      Awarding actual damages forfeiture as deemed proper by the Court, and attorneys’

fees and all costs and expenses of suit from Co-Conspirators, jointly and severally, pursuant to

Plaintiff’s substantive due process claim;

       D.      Awarding actual damages, injunctive and equitable relief, forfeiture as deemed

proper by the Court, and attorneys’ fees and all costs and expenses of suit from the Board and

Board Majority, jointly and severally, pursuant to Plaintiff’s equal protection and procedural due

process claims;

       E.      Awarding actual damages and specific performance from the Board pursuant to

Plaintiff’s breach of contract claim;

       F.      Against the Board to nullify the votes to rescind the Contract and set aside funds

for payment under the Contract;

       G.      Injunctive relief preventing the awarding of the Contract to a third party;

       H.      Granting the Plaintiff

               1.      The cost of investigation, reasonable attorneys’ fees, and all costs and

       expenses;

               2.      Pre-judgment and post-judgment interest; and




                                                30
      Case: 1:23-cv-01561-CEF Doc #: 1 Filed: 08/10/23 31 of 31. PageID #: 31




                  3.   All other and further relief as provided by law and/or the Court deems just,

       equitable, and proper.



                                         JURY DEMAND

       Pursuant to Federal Civil Rule 38, Plaintiff requests a jury trial of all triable issues

alleged herein.

                                               Respectfully submitted,


                                               /s/ Allen T. Carter
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                                                 31
